Case 8:17-cv-00118-DMG-DFM    Document 645 Filed 12/01/23   Page 1 of 25 Page ID
                                   #:25521



   1 HARDER STONEROCK LLP
       DILAN A. ESPER (CA Bar No. 178293)
   2
       EMMANUEL FUA (CA Bar No. 284563)
   3   8383 Wilshire Blvd., Suite 526
       Beverly Hills, California 90211
   4
       Telephone: (424) 203-1600
   5   Facsimile: (424) 203-1601
   6
       Email: DEsper@HarderLLP.com
       Email: EFua@HarderLLP.com
   7
   8
       Attorneys for Nonparty
       Muddy Waters Capital LLC
   9
  10                      UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
  11
  12   In re BANC OF CALIFORNIA                 Case No. 8:17-cv-00118-DMG (DFMx)
       SECURITIES LITIGATION
  13                                            CLASS ACTION
  14
       This Document Relates To:                NONPARTY MUDDY WATERS
  15                                            CAPITAL LLC’S REPLY
  16         ALL ACTIONS.                       MEMORANDUM IN SUPPORT OF
                                                MOTION FOR SANCTIONS AND
  17                                            CONTEMPT ORDER AGAINST
  18                                            DEFENDANT STEVE A.
                                                SUGARMAN AND LATHAM &
  19                                            WATKINS LLP
  20
                                                Date: December 15, 2023
  21                                            Time: 9:30 A.M.
  22                                            Judge: Hon. Dolly M. Gee
                                                Courtroom: 8C
  23
  24
  25
  26
  27
  28

              REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM              Document 645 Filed 12/01/23                    Page 2 of 25 Page ID
                                             #:25522



   1                                          TABLE OF CONTENTS
   2 TABLES OF AUTHORITIES .................................................................................. ii
   3      I.      INTRODUCTION ...................................................................................... 1
   4      II.     ARGUMENT ............................................................................................. 8
   5              A. Latham Violated the Protective Order ................................................. 8
   6              B. Latham Should Be Held in Contempt and Sanctioned ...................... 12
   7              C. Sugarman Violated the Protective Order ........................................... 14
   8              D. Sugarman Should Be Held in Contempt and Sanctioned .................. 17
   9              E. The Court Should Also, or in the Alternative, Permit Discovery ...... 19
  10      III.    CONCLUSION ........................................................................................ 20
  11 CERTIFICATE OF COMPLIANCE....................................................................... 21
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                                i
                 REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM                   Document 645 Filed 12/01/23                     Page 3 of 25 Page ID
                                                  #:25523



   1                                             TABLE OF AUTHORITIES
   2                                                                                                                     Page(s)
   3 Cases
   4
     Cardell Fin. Corp. v. Suchodolski Assocs., Inc.,
   5    2012 WL 12932049 (S.D.N.Y. July 17, 2012) ............................................................ 19
   6 Clarke v. First Transit, Inc.,
        2012 WL 12877865 (C.D. Cal. Nov. 2, 2012) ......................................................... 8, 17
   7
   8 In re Dual-Deck Video Cassette Recorder Antitrust Litigation,
         10 F.3d 693 (9th Cir. 1993).................................................................................... 11, 18
   9
     Elkharwily v. Mayo Holding Co.,
  10     2017 WL 1373256 (D. Minn. Apr. 13, 2017) .............................................................. 17
  11
     Gonzalez v. Charter Commc’ns, LLC,
  12     2022 WL 570003 (C.D. Cal. Jan. 26, 2022) ................................................................ 17
  13 Kilopass Technology, Inc. v. Sidense Corp.,
        2012 WL 1144290 (N.D. Cal. Apr. 4, 2012) ......................................................... 11, 12
  14
  15 Nothrop Grumman Corp. v. Factory Mut. Ins. Co.,
        563, F.3d 777 (9th Cir. 2009)......................................................................................... 8
  16
        O’M & Assocs. v. Ozanne
  17
          2011 WL 2160938 (S.D. Cal. June 1, 2011) .......................................................... 12
  18
        OmniGen Research, LLC v. Wang,
  19        2018 WL 11512767 (D. Or. Nov. 6, 2018) ............................................................ 12, 19
  20 Revitch v. DIRECTV, LLC,
  21    799 F.3d 713 (9th Cir. 2020).......................................................................................... 9

  22 Spin Master, Ltd. v. Zobmondo Entm’t, LLC,
        2012 WL 12882012 (C.D. Cal. Feb. 13, 2012) ............................................................ 12
  23
     Systemic Formulas, Inc. v. Kim,
  24
        2009 WL 5205995 (D. Utah Dec. 23, 2009) ................................................................ 12
  25
     United States v. Christensen,
  26    828 F.3d 763 (9th Cir. 2015)........................................................................................ 19
  27 Vertex Distributing, Inc. v. Falcon Foam Plastics, Inc.,
  28    689 F.2d 885 (9th Cir. 1982)........................................................................................ 11

                                                                    ii
                    REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM                      Document 645 Filed 12/01/23                         Page 4 of 25 Page ID
                                                     #:25524



   1 Yeti by Molly, Ltd. v. Deckers Outdoor Corp.,
        259 F.3d 1101 (9th Cir. 2001)...................................................................................... 12
   2
     Youngevity Int’l v. Smith,
   3
        2019 WL 157269 (S.D. Cal. Jan. 10, 2019) ........................................................... 13, 14
   4
     Other Authorities
   5
     L.R. 79-5.2.2(b) ................................................................................................................... 5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                                         iii
                     REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM      Document 645 Filed 12/01/23       Page 5 of 25 Page ID
                                     #:25525



   1        Nonparty movant Muddy Waters Capital LLC (“Muddy Waters”) respectfully
   2 submits this reply memorandum in further support of its Motion for Sanctions and
   3 Contempt Order against Defendant Steven A. Sugarman (“Sugarman”) and his
   4 counsel Latham & Watkins LLP (“Latham”).
   5 I.     INTRODUCTION
   6        Sugarman and Latham both take the same tack: they hope that by flooding this
   7 Court with irrelevant details, they can turn a simple issue into a complex one. But
   8 what they do not do is deny the central truth—the Court ordered that the information
   9 turned over by Muddy Waters be under an “Attorneys’ Eyes Only” (“AEO”)
  10 restriction, Latham then laundered it through their expert into a document that they
  11 conveniently labeled “Confidential” so they could give it to their client, and their
  12 client then turned it over to third-party, Adam Levine, to disseminate to the press.
  13 Nowhere in any of their voluminous papers do either Sugarman or Levine rebut those
  14 facts, because they are true. Everything else is deflection or distraction.
  15        Judge McCormick ruled that the entirety of Muddy Waters’ document
  16 production was subject to the heightened protection of the AEO designation from the
  17 Protective Order, and Muddy Waters produced documents in reliance on Judge
  18 McCormick’s ruling and the Protective Order. Latham, however, decided Judge
  19 McCormick’s order was wrong. And rather than waiting for guidance that it admits it
  20 requested from Judge McCormick as to the treatment of AEO documents in this case,
  21 Latham simply ignored the order. Latham took Muddy Waters’ AEO document
  22 production, gave the production to its expert, Charles Lee, and designated Lee’s
  23 report (the “Expert Report”) “Confidential,” rather than AEO, notwithstanding the
  24 fact that Lee’s report is littered with references to and summaries of Muddy Waters’
  25 AEO production and otherwise discloses the essence of the production: i.e., Muddy
  26 Waters’ trading activity in Banc stock over 19-month period, the precise dollar
  27 amount and timing of that activity, Muddy Waters’ estimated profits in connection
  28 with that activity, and internal emails and documents related to that activity. Latham

                                                 1
              REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM        Document 645 Filed 12/01/23      Page 6 of 25 Page ID
                                       #:25526



   1 portrays this as a mere technicality, but it wasn’t, because Latham then gave the
   2 Expert Report to its client, Sugarman, who flipped the report to the press through his
   3 employee, Levine, in an effort to damage the reputation of Muddy Waters and Carson
   4 Block, whom he views as his enemies. Sugarman and Latham’s conduct was
   5 egregious and fully warrants sanctions and a contempt order.
   6         Sugarman and Latham’s Oppositions either concede or do not contest material
   7 facts that support granting Muddy Waters’ motion. These facts include: (i) the
   8 Protective Order remains in effect and the Court retains jurisdiction to enforce it; (ii)
   9 Judge McCormick issued an order that Muddy Waters’ entire document production
  10 must be designated “Attorneys’ Eyes Only”1; (iii) Muddy Waters indeed designated
  11 its entire document production AEO under the terms of the Protective Order2; (iv) the
  12 Expert Report references and relies upon Muddy Waters’ AEO document
  13 production3; (v) Latham sought guidance from the Court in the same month that the
  14 Expert Report was issued as to whether it could show Sugarman AEO material but
  15 never received such guidance4; (vi) Latham designated the Expert Report as
  16
  17
  18         1
                 Dkt. 623-3 (Block Decl., Ex. A (McCormick Order)) at 5; Latham Opp. at 7.
  19         2
                 Sugarman Opp. at 5; Dkt. 623-2 (Block Decl.) ¶¶ 10-11.
  20         3
                Dkt. 629 (Block Decl., Ex. B (sealed)) (the “Expert Report”) ¶¶ 13, 37, 43-53,
  21   59-61, 74, 81, 83, 90-93, nn.47-68, 103 & Figure 6. Sugarman and Latham, with zero
       credibility, quibble with the extent of Mr. Lee’s reliance on Muddy Waters’ document
  22   production, but the Expert Report speaks for itself: its central thesis was to shift the
  23   blame for Sugarman’s alleged securities fraud to Muddy Waters, and Lee espoused this
       opinion in significant and express reliance on Muddy Waters’ AEO document
  24   production. Indeed, an entire section of the report (II.B) is dedicated to Lee’s
  25   analysis of trading data and internal emails that Muddy Waters produced. Given
       that the report expressly and extensively references this data, Sugarman’s claim that he
  26   did not realize that Muddy Waters’ AEO information was contained in the Lee Report
  27   can only be characterized as a blatant lie.
             4
  28             Dkt. 641-3 (Gray Decl.) ¶ 3.

                                                  2
                 REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM      Document 645 Filed 12/01/23      Page 7 of 25 Page ID
                                     #:25527



   1 “Confidential” rather than “AEO” anyway5; (vii) Latham gave the Expert Report to
   2 Sugarman6; (viii) if the Expert Report were designated as “AEO” rather than
   3 “Confidential,” Sugarman would never have been permitted to possess a copy under
   4 the terms of the Protective Order7; (ix) Sugarman gave the Expert Report to Levine,
   5 who Sugarman concedes was never an officer, director, or employee of Banc, for a
   6 purpose unrelated to the underlying litigation8; and (x) Levine, in turn, disseminated
   7 the Expert Report to the media.9
   8        The remaining issues before the Court are therefore fairly narrow. As to
   9 Sugarman, he has now admitted to violating Section IV.1 of the Protective Order,
  10 which requires that designated material—whether Confidential or AEO—may be used
  11 “only for this litigation.” Dkt. 83 at 4. In his declaration, Sugarman readily admits
  12 that he gave the Confidential Expert Report to Levine in or around February 2022,
  13 despite this case having concluded in August 2020, and that he did so to allow Levine
  14 to respond to a media inquiry unrelated to this litigation. Dkt. 637-13 (Sugarman
  15 Decl.) ¶¶ 13-16; see also Dkt. 630 (Levine Decl., Ex. D (sealed)). Muddy Waters has
  16 presented evidence that the extent of Sugarman’s violation of the Protective Order
  17 was much greater in that he instructed Levine and a colleague, Lindsay Valdeon, to
  18 disseminate the Expert Report to the media for the purpose of damaging Muddy
  19 Waters’ reputation. Dkt. 623-6 (Levine Decl.) ¶¶ 13-21. Muddy Waters has also
  20 demonstrated that the Expert Report should have been designated as AEO, and
  21 therefore Sugarman violated other sections of the Protective Order relating to the
  22
  23        5
                Sugarman Opp. at 2-3; Latham Opp. at 1.
  24        6
                Sugarman Opp. at 3.
  25        7
                Sugarman Opp. at 1; Latham Opp. at 16.
  26        8
             Sugarman Decl. ¶¶ 14-17; see also Dkt. 630 (Levine Decl., Ex. D (sealed
  27
     email from Sugarman to Levine transmitting Expert Report)).
           9
             Dkt. 623-7 (Levine Decl., Ex. A (email from Levine to reporter transmitting
  28
     Expert Report)).
                                                3
                REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM       Document 645 Filed 12/01/23      Page 8 of 25 Page ID
                                      #:25528



   1 disclosure of AEO information as well. Regardless, the Court now has before it an
   2 admitted Protective Order violation warranting sanctions and contempt, or, at
   3 minimum, warranting discovery on the ground that Muddy Waters has made a prima
   4 facie showing of sanctionable conduct.
   5        Sugarman’s only defense is a frivolous interpretation of the Protective Order
   6 that he could purportedly do whatever he wanted with the Expert Report because it
   7 was “his confidential document” authored by “his expert.” Sugarman Opp. at 2. This
   8 argument, of course, ignores Section II.1 and II.2 of the Protective Order, which
   9 provide that Confidential or AEO material belonging to one party (Muddy Waters)
  10 does not lose its protection just because another party (Sugarman) uses that
  11 information in one of its own documents. Sugarman’s alternative interpretation—that
  12 he can publicly disseminate a third-party’s highly confidential information just
  13 because he hired an expert to write about that information—is absurd on its face. The
  14 same absurdity is evident in Sugarman’s transparently false averment that he had “no
  15 reason to know or suspect” that the Expert Report contained any information from
  16 Muddy Waters’ AEO production, given Lee dedicates an entire section of the report
  17 (II.B) to his analysis of Muddy Waters’ trading data and internal emails (with
  18 citations to Muddy Waters’ MWC-BANC bates stamp) and expressly states twice in
  19 that section (¶ 45, n.52) that he reviewed Muddy Waters’ production. As to the
  20 improper designation of the Expert Report as Confidential rather than AEO,
  21 Sugarman lays the blame solely with Latham. Sugarman Opp. at 1, 3.
  22        Latham, for its part, effectively argues that, despite being a “3500+” attorney
  23 law firm,10 it was overwhelmed at the time and too busy to properly designate the
  24 Expert Report. Latham Opp. at 4-5, 9. It further argues that, in any event, it
  25 “substantially complied” with the Protective Order because (i) Muddy Waters’ AEO
  26 document production did not actually warrant AEO-designation, notwithstanding
  27
  28        10
                 https://www.lw.com/en/about-us (last accessed Nov. 27, 2023).
                                                 4
                 REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM        Document 645 Filed 12/01/23       Page 9 of 25 Page ID
                                       #:25529



   1 Judge McCormick’s order that it did; (ii) Professor Lee did not actually need Muddy
   2 Waters’ AEO document production to form his opinions, notwithstanding the fact that
   3 he referenced, summarized, and relied on Muddy Waters’ AEO document production
   4 in at least 18 paragraphs, 9 footnotes, one figure, and an entire subsection in his
   5 report11; (iii) the Expert Report was neither “derived from” nor “embodies, contains,
   6 or discloses any [AEO] information” despite these extensive references; and (iv)
   7 Muddy Waters occupied only “274 out of a total of over 27,000 words” in the Expert
   8 Report, also despite these extensive references and the central thesis of the report
   9 being that Muddy Waters was to blame for Sugarman’s alleged securities fraud.
  10 Latham Opp. at 1-2, 13-15. Latham did not substantially comply with any order of
  11 this Court; it ignored both of them wholesale. Latham makes a series of other
  12 nonsensical and unsupported arguments as well, including that Muddy Waters waived
  13 its right to relief by providing Sugarman’s counsel with a copy of the Expert Report
  14 (which Sugarman already had) in connection with its sealing application and in
  15 compliance with L.R. 79-5.2.2(b). Latham Opp. at 3, 19. Latham’s arguments are
  16 meritless. It should be sanctioned and held in contempt as well.
  17         Importantly, the two parties, Sugarman and Latham, should not be permitted to
  18 point fingers at each other to avoid responsibility. The entire point of Judge
  19 McCormick’s order was to ensure that Muddy Waters’ sensitive information not go
  20 beyond the confines of a lawyer’s office. It was to keep it out of the hands of clients
  21 and out of the hands of the public. Instead, the information went out to a client and
  22 then out to the press. For Latham to say “oops, we didn’t mean to only stamp it
  23 confidential and to give it to Sugarman” (even though they specifically sought and did
  24 not obtain the right to give attorney’s eyes only information to Sugarman), and then
  25 for Sugarman to say “oops, I didn’t realize it was actually attorney’s eyes only and I
  26
  27
             11
                See, e.g., Expert Report ¶¶ 13, 37, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52, 53,
  28
       59, 60, 61, 74, and 81, footnotes 52, 53, 58, 59 60, 61, 62, 64, and 103, and figure 6.
                                                   5
                  REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM       Document 645 Filed 12/01/23       Page 10 of 25 Page
                                     ID #:25530



   1 wasn’t supposed to have it or disseminate it” (even though he admitted to Levine that
   2 he was not supposed to have possession of it and it was perfectly clear that the report
   3 relied upon the attorney’s eyes only information from Muddy Waters) is insulting to
   4 the judicial process. Both of them are responsible for what ultimately happened,
   5 which was a clear violation of a direct and unambiguous court order.
   6        To the extent the Court believes it requires additional information to render a
   7 decision in this matter, it should order that the parties conduct discovery. Neither
   8 Sugarman nor Latham makes any meritorious arguments to the contrary. Sugarman’s
   9 resistance to discovery (Sugarman Opp. at 20-21) is wholly disingenuous given that
  10 he has already attempted to conduct unilateral discovery against Muddy Waters and
  11 Harder Stonerock LLP by issuing facially improper subpoenas under a state court
  12 wrongful termination caption seeking, inter alia, all communications with Levine and
  13 all documents provided by Levine. Reply Declaration of Dilan Esper (“Esper Reply
  14 Decl.”) ¶¶ 3-13, Ex. A. His issuance of these subpoenas is a plain concession that
  15 discovery is necessary. Moreover, Sugarman’s opposition only underscores the need
  16 for discovery because his primary arguments rest on contested factual issues and other
  17 facts for which he has provided zero documentary support. For example, Sugarman
  18 claims he only ever shared the Expert Report with Levine and did so to allow him to
  19 respond to a media inquiry (Sugarman Decl. ¶¶ 13-17); Levine, however, claims
  20 Sugarman shared the Expert Report with both he and a colleague, Lindsay Valdeon,
  21 and instructed both of them to use the report to smear Muddy Waters in the media
  22 (Levine Decl. ¶¶ 13-21). Unlike Sugarman, Levine provides documentary support for
  23 his claims. Levine Decl., Exs. A-G.
  24        It’s worth noting that Sugarman’s contumacious conduct extends to the very
  25 proceedings that gave rise to this motion. In the meet and confer process, knowing
  26 full well that he, Sugarman, gave the Expert Report to Levine, but not knowing what
  27 Muddy Waters knew, Sugarman instructed his lawyer to lie and claim that the Expert
  28 Report was most likely “stolen” by Levine. Esper Reply Decl., Ex. C at 1-2. This

                                                 6
              REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM        Document 645 Filed 12/01/23       Page 11 of 25 Page
                                      ID #:25531



   1 willingness to lie, of course, is probative of whether this Court should believe
   2 anything Sugarman now claims about this matter.
   3         As for Latham, it ignores the proposed discovery topics and relevant case law
   4 in reflexively waiving the privilege banner, and makes the inflammatory and utterly
   5 unsupported argument that Muddy Waters is seeking discovery in this matter to assist
   6 Muddy Waters or Levine in completely unrelated litigations against Sugarman. Id. at
   7 3, 21. Nowhere does Latham identify which lawsuits and which claims or defenses in
   8 such lawsuits Muddy Waters’ narrowly drawn discovery requests could possibly
   9 relate to (Mot. at 21-22). This is unsurprising because Muddy Waters’ discovery
  10 requests relate solely to the issues it has presented to this Court. In any event,
  11 Latham’s Opposition, too, underscores the need for the discovery to the extent the
  12 Court is not prepared to grant the motion on the current record. One of Latham’s
  13 primary arguments is that Muddy Waters’ AEO document production was redundant
  14 of other non-AEO documents Sugarman already had from other sources, and yet,
  15 Latham has not shared those documents with Muddy Waters or the Court. Latham
  16 Opp. at 1-2, 5-8, 13-15.12
  17         In sum, both Sugarman and Latham should be sanctioned and held in contempt,
  18 and the Court should order discovery.
  19 / / /
  20
  21
             12
                Muddy Waters disputes the relevance of this argument given that (i) Judge
  22
       McCormick ruled Muddy Waters’ entire production warranted AEO production; (ii)
  23   Professor Lee plainly used and disclosed the substance of Muddy Waters’ AEO
       production in his report (see, e.g., the entire Section II.B of the report); and (iii)
  24
       Latham elsewhere admits that Sugarman’s independent data was not even half correct
  25   (Latham Opp. at 9). What matters is that Muddy Waters’ AEO information was
       disclosed in the report, not whether its AEO information is duplicative of other
  26
       information Sugarman possesses, but has not disclosed. But if the Court finds any
  27   merit in this argument, Latham cannot be permitted to prevail based merely on its
       attorneys’ say-so: it must provide the supposedly “duplicative” documents to Muddy
  28
       Waters to allow it to respond fully.
                                                  7
                  REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM       Document 645 Filed 12/01/23       Page 12 of 25 Page
                                     ID #:25532



   1 II.    ARGUMENT
   2        A.       Latham Violated the Protective Order
   3        Latham violated the Protective Order by designating the Expert Report as
   4 “Confidential” rather than “Attorneys’ Eyes Only.” Under the section II.2 of the
   5 Protective Order, “Any information that is derived from HIGHLY CONFIDENTIAL
   6 – ATTORNEY EYES ONLY also constitutions HIGHLY CONFIDENTIAL –
   7 ATTORNEY EYES ONLY information to the extent the derived information
   8 embodies, contains, or discloses any HIGHLY CONFIDENTIAL ATTORNEY
   9 EYES ONLY information.” Dkt. 83 at 2 (emphasis added). Despite Judge
  10 McCormick ordering that Muddy Waters’ entire production be designated AEO, and
  11 despite the Expert Report referencing, summarizing, and relying upon Muddy Waters’
  12 AEO document production in paragraphs 13, 37, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52,
  13 53, 59, 60, 61, 74, and 81; footnotes 52, 53, 58, 59 60, 61, 62, 64, and 103, and figure
  14 6, Latham argues that it properly designated the Expert Report as “Confidential,” and
  15 not AEO. Latham Opp. at 12-15. Latham’s contrary arguments are meritless.
  16        First, the terms “derived,” “embody,” “contain,” and “disclose” are not defined
  17 in the Protective Order; accordingly, the Court should interpret them pursuant to their
  18 ordinary meanings. See Nothrop Grumman Corp. v. Factory Mut. Ins. Co., 563, F.3d
  19 777, 784 n.4 (9th Cir. 2009). “Derive” means “to take, receive, or obtain especially
  20 from a specified source.”13 “Embody” means “to cause or to become a body or party
  21 of a body: incorporate.”14 “Contain” means “to have within.”15 And “disclose”
  22 means “to make known or public” or “to expose to view.”16 Applying these
  23 definitions, the Expert Report is plainly derived from, embodies, contains, and
  24
  25        13
                 https://www.merriam-webster.com/dictionary/derive.
            14
  26             https://www.merriam-webster.com/dictionary/embody.
            15
  27             https://www.merriam-webster.com/dictionary/contain.
            16
  28             https://www.merriam-webster.com/dictionary/disclose.

                                                 8
                 REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM       Document 645 Filed 12/01/23       Page 13 of 25 Page
                                     ID #:25533



   1 discloses Muddy Waters’ AEO production. Any alternative interpretation would lead
   2 to absurd and dangerous results, including a law firm’s ability—as exercised by
   3 Latham here—to freely disregard a court order such as Judge McCormick’s order that
   4 specific documents are entitled to heightened AEO protection. See Revitch v.
   5 DIRECTV, LLC, 799 F.3d 713, 717 (9th Cir. 2020).17
   6        Second, Latham’s argument that Lee’s ultimate “opinion” is not “derived from”
   7 Muddy Waters’ documents, and therefore the Report is not subject to AEO
   8 production, finds no support in the Protective Order itself, or the Expert Report itself
   9 for that matter.18 Latham Opp. at 12-13. In any event, what matters is whether any
  10 AEO information is contained or disclosed within the Expert Report or whether the
  11 Expert Report embodies or is derived from any AEO information. Dkt. 83 at 1-2.
  12 The Expert Report’s extensive citations to Muddy Waters’ AEO production easily
  13 satisfy this standard.
  14        Third, Latham’s argument that Muddy Waters’ AEO documents were “largely
  15 duplicative” of other information that Sugarman already had, and therefore did not
  16 warrant AEO protection, is nonsensical. Latham Opp. at 13. Judge McCormick ruled
  17 that Muddy Waters’ entire production was subject to AEO production; Latham was
  18 not free to disregard that order based on its own conclusion that Muddy Waters’
  19 documents did not in fact warrant AEO protection because they were purportedly
  20 duplicative of other documents it already had. Latham’s recourse was seeking
  21 reconsideration or an appeal of Judge McCormick’s order, not unilaterally ignoring it.
  22 In any event, Latham’s argument is wholly unsupported and should therefore be
  23
  24        17
              Indeed, even Latham tacitly admits it should have designated at least part of
     the Expert Report as AEO by only going as far as stating that “the entire Lee Report
  25
     is not ‘derived from’ Muddy Waters’…production.” Latham Opp. at 1 (emphasis
  26 added).
            18
  27          The entirety of Section II.B (paragraphs 43-53, footnotes 47-68, and figure 6)
     of the Expert Report (Dkt. 629) is based almost entirely on trading data and internal
  28
     emails that Muddy Waters produced.
                                                 9
                 REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM        Document 645 Filed 12/01/23      Page 14 of 25 Page
                                      ID #:25534



   1 disregarded: it does not provide the supposedly redundant documents to Muddy
   2 Waters or the Court with its opposition.
   3         Fourth, Latham attempts to argue that Muddy Waters somehow publicly
   4 admitted the contents of its production when it stated in a filing that it “was never net
   5 long in Banc securities, and any equity purchases were made to cover short positions”
   6 and that Sugarman already possessed relevant trading data. Latham Opp. at 7. This is
   7 plainly not equivalent to Muddy Waters revealing the precise trading data and internal
   8 emails from its AEO production that Lee expressly cited and relied upon.
   9         Fifth, Latham and Sugarman’s reliance on a declaration filed by a purported
  10 expert (Torben Voetmann) in opposition to Muddy Waters’ motion to quash
  11 Sugarman’s subpoenas is highly misleading.19 Both contend that Lee did not need
  12 Muddy Waters’ AEO documents because Voetmann already provided the same
  13 opinion as Lee. Sugarman Opp. at 2, 5-6; Latham Opp. at 6-8. But Voetmann’s
  14 conclusion in his declaration was that Muddy Waters’ documents were necessary for
  15 Sugarman’s defense: “due to the limitations of the FINRA Oats and FINRA
  16 transaction data, having access to the transaction data of Muddy Waters, along with
  17 their communications and analysis regarding those transactions would help the court
  18 analyze and understand how their specific trading behavior might have impacted the
  19 stock price of Banc.” MW Dkt.20 9-1 at 7 (emphases added). Additionally, Latham
  20 admits that Sugarman’s data independent of Muddy Waters’ document production
  21 was not even half correct. Latham Opp. at 9. Regardless, Lee extensively cites to
  22 Muddy Waters’ document production, states he reviewed it, and sets forth his analysis
  23 of the entire production in Section II.B of his report. Whether he “needed” to do so to
  24
  25         19
              Sugarman erroneously states that Voetmann’s declaration was “publicly
  26 filed.” That is incorrect; only a heavily redacted version of the declaration was
  27
     publicly filed. Muddy Waters has quoted only from the publicly filed version.
             20
               “MW Dkt.” refers to the motion to quash proceedings filed in N.D. Cal. Case
  28
       No. 18-mc-80175, thereafter transferred to C.D. Cal. Case No. 18-mc-00147.
                                                 10
                  REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM       Document 645 Filed 12/01/23        Page 15 of 25 Page
                                     ID #:25535



   1 arrive at his ultimate opinions is irrelevant; what matters is that the information is
   2 contained in his report and the report was disseminated to individuals other than
   3 attorneys of record in this case. It was, and Latham should be sanctioned and held in
   4 contempt.
   5         Finally, Latham’s argument that it “substantially complied” with the Protective
   6 Order and Judge McCormick’s order borders on the frivolous. There is not
   7 “substantial compliance” here; there is no compliance. It is not as if Latham
   8 designated part of the Expert Report as AEO—it designated none of it as AEO.
   9         The cases on “substantial compliance” bear no relationship to what happened
  10 here. For instance, Vertex Distributing, Inc. v. Falcon Foam Plastics, Inc., 689 F.2d
  11 885, 892 (9th Cir. 1982), involved two listings in a phone book that violated a prior
  12 court order. The defendant removed the listings as soon as they were discovered and
  13 before the plaintiff moved for contempt. That is not at all comparable to what
  14 happened here.
  15         In In re Dual-Deck Video Cassette Recorder Antitrust Litigation, 10 F.3d 693,
  16 697 (9th Cir. 1993), the original order was “written by defendants’ lawyers, not the
  17 judge, to throw the biggest possible blanket over every kind of knowledge which
  18 might be obtained in the lawsuit” and “if taken literally, the order would be absurd.”
  19 The court construed the order narrowly as only prohibiting the use of proprietary
  20 information, which the party did not use. Accordingly, substantial compliance was
  21 found. Again, the order in this case was written by Judge McCormick, not by the
  22 parties, and it was in no way absurd—a third party (Muddy Waters) was being
  23 required to produce its confidences, and the Court wished to ensure that nobody but
  24 lawyers would have access to them. In no way did Latham “substantially comply”.
  25         The other “substantial compliance” cases Latham cites are no more applicable.
  26 Kilopass Technology, Inc. v. Sidense Corp., 2012 WL 1144290, at *4 (N.D.
  27 / / /
  28 / / /

                                                 11
              REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM        Document 645 Filed 12/01/23       Page 16 of 25 Page
                                      ID #:25536



   1 Cal. Apr. 4, 2012) (disclosure of customer list that was known to plaintiff before
   2 litigation and thus was not protected by protective order)21; O’M & Assocs.
   3 v. Ozanne, 2011 WL 2160938, at *5 (S.D. Cal. June 1, 2011) (disclosure of only a
   4 single item of confidential information still constituted substantial compliance).
   5         B.       Latham Should Be Held in Contempt and Sanctioned
   6         Consistent with case law arising from similar facts, Latham should be
   7 sanctioned and held in contempt for wrongly designating the Expert Report as
   8 “Confidential” despite knowing it contained extensive references to Muddy Waters’
   9 AEO document production, and sharing the report with their client, Sugarman, who
  10 was not permitted to view AEO material or AEO-derived material under the
  11 Protective Order. See OmniGen Research, LLC v. Wang, 2018 WL 11512767, at *10-
  12 13 (D. Or. Nov. 6, 2018); Spin Master, Ltd. v. Zobmondo Entm’t, LLC, 2012 WL
  13 12882012, at *4-7 (C.D. Cal. Feb. 13, 2012); Systemic Formulas, Inc. v. Kim, 2009
  14 WL 5205995, at *1-2, 4 (D. Utah Dec. 23, 2009). Latham’s arguments to the contrary
  15 fail.
  16         Latham argues that the “full record amply demonstrates” that it did not act in
  17 bad faith and therefore should not be sanctioned. Latham Opp. at 15-16. As an initial
  18 matter, bad faith and willfulness are not required for the issuance of sanctions “less
  19 than dismissal,” as is requested here. Yeti by Molly, Ltd. v. Deckers Outdoor Corp.,
  20 259 F.3d 1101, 1106 (9th Cir. 2001). Additionally, there is no “full record.” There
  21 has been no discovery, and Latham is resisting discovery. The Court should therefore
  22 reject Latham’s attorney’s ipse dixit that it acted in good faith.
  23         Moreover, the admitted facts that (i) Latham sought guidance from Judge
  24
  25
             21
               Latham mischaracterizes this case as involving information “supplemented”
  26
     by attorney’s eyes only information; in fact, there is nothing in the opinion in
  27 Kilopass Technology that indicates that any of the information disclosed by the
     plaintiff was not already known to them before the litigation and was only learned
  28
     through discovery.
                                                 12
                  REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM       Document 645 Filed 12/01/23       Page 17 of 25 Page
                                     ID #:25537



   1 McCormick on whether it could show Sugarman AEO documents under the
   2 Protective Order but never received such guidance, and (ii) Latham sought such
   3 guidance in the same month that the Expert Report was issued, demonstrates
   4 Latham’s willfulness and bad faith. See Dkt. 641-3 (Gray Decl.) ¶ 3 (referencing Feb.
   5 1, 2019 teleconference); Expert Report at 1 (showing issuance date of Feb. 22, 2019).
   6 Latham’s tortured spin on these events, i.e., that it did not ask Judge McCormick
   7 about Muddy Waters’ AEO documents or the Expert Report specifically, should be
   8 rejected. Latham Opp. at 16. Latham admits it knew that it could not show Sugarman
   9 Muddy Waters’ AEO documents under the Protective Order, and yet it revealed the
  10 contents of those documents to Sugarman anyway by designating the Expert Report
  11 “Confidential” in violation of the Protective Order and Judge McCormick’s motion to
  12 quash order. This misconduct warrants sanctions and a finding of contempt.
  13        Latham’s primary authority, Youngevity Int’l v. Smith, 2019 WL 157269 (S.D.
  14 Cal. Jan. 10, 2019), is distinguishable. In that case, the court determined there was
  15 “no showing of bad faith or prejudice” and that the attorneys in the case, who had
  16 taxed the court’s resources and patience by filing over 110 motions, were merely
  17 playing a game of “gotcha.” Id. at *2. Contrary to the facts in Youngevity, Muddy
  18 Waters believed that its sensitive business information was protected from public
  19 disclosure pursuant to Judge McCormick’s motion to quash order and the Protective
  20 Order, but instead, Sugarman was able to forward its AEO information to the press
  21 following Latham and Sugarman’s utter disregard for both of those court orders. Far
  22 from a game of “gotcha,” Muddy Waters filed its motion because it had no choice but
  23 to do so to protect its sensitive and confidential business information and internal
  24 emails. Moreover, the court in Youngevity observed that 114,000 of the 116,000
  25 documents produced (98%) were designated confidential under the protective order,
  26 and therefore the mere disclosure of two employee start dates, a distributor start date,
  27 and certain sales data was “relatively minimal.” Id. Latham admittedly does not
  28 know what percentage of the documents produced in this matter were designated

                                                13
              REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM        Document 645 Filed 12/01/23       Page 18 of 25 Page
                                      ID #:25538



   1 “Confidential” or AEO, Dkt. 641-1 (Abascal Decl.) ¶ 3, and the Expert Report
   2 disclosed the very essence of Muddy Waters’ AEO production (i.e., precise trading
   3 data including amounts, timing, profits, and related documents and communications).
   4 This case is nothing like Youngevity.
   5         C.       Sugarman Violated the Protective Order
   6         Sugarman violated the Protective Order by providing the Expert Report to
   7 Levine and Lindsay Valdeon years after the conclusion of this litigation and
   8 instructing them to disseminate it to the media in an attempt to damage the reputation
   9 of Muddy Waters and its principal, Carson Block. Dkt. 623-6 (Levine Decl.) ¶¶ 13-
  10 21; Dkt. 630 (Levine Decl., Ex. D (sealed)); see also Levine Decl., Ex. A.22
  11 Sugarman only partially denies Levine’s testimony. Sugarman admits that he gave
  12 Levine the Expert Report in or around February 2022, despite this litigation having
  13 concluded in 2020. Sugarman Decl. ¶¶ 13-16; see also Sugarman Opp. at 21
  14 (“Sugarman … provided the report to Levine ….”). He states, however, that he did so
  15 to provide Levine with background information to respond to a reporter on his behalf
  16 who was asking questions about “short sellers and Banc of California, the related
  17 litigation, and a probe by the Department of Justice ….” Dkt. 637-13 (Sugarman
  18 Decl.) ¶ 13-14. Regardless of the reason why he provided Levine with the Expert
  19 Report, Sugarman now admits that he did provide Levine with the report and did so
  20 for a purpose other than “this litigation” in direct violation of Section IV.1 of the
  21 Protective Order (as well as Judge McCormick’s order, and Sections IV.2, IV.3, VI,
  22 and IX of the Protective Order for the reasons stated in the Motion). Dkt. 83 at 4;
  23
  24
             22
  25         Sugarman and Latham make much of Muddy Waters’ filing of a transcript of
     Sugarman’s interview with a reporter. As should be clear from Muddy Waters’
  26
     motion, the protective order violation it is alleging relates to the Expert Report.
  27 Neither Sugarman nor Latham have made any showing as to how Sugarman’s
     statements in the interview transcript are equivalent to the disclosures of Muddy
  28
     Waters’ AEO information in the Expert Report.
                                                 14
                  REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM       Document 645 Filed 12/01/23          Page 19 of 25 Page
                                     ID #:25539



   1 Mot. 15-17.
   2        As Levine was not an officer, director, or employee of Banc, and as disclosure
   3 to Levine was not “reasonably necessary” for the purposes of the underlying
   4 litigation, he was not entitled to receive even Confidential documents under the
   5 Protective Order, regardless of any NDA or consultancy agreement he may have
   6 signed after the conclusion of the litigation. Dkt. 83 at 4-5.
   7        Moreover, Sugarman’s argument that he could do whatever he wanted with the
   8 Expert Report because it was “his Confidential document” authored by “his expert” is
   9 frivolous. Sugarman Opp. at 3. Section II.1 and II.2 of the Protective Order grant
  10 protection not only to “Confidential” and AEO documents themselves, but also other
  11 documents that are “derived from,” “embody, “contain,” or “disclose” the information
  12 contained in those “Confidential” or AEO documents. Dkt. 83 at 1-2. Were it
  13 otherwise, the Protective Order as a whole would be illusory: a party such as
  14 Sugarman could hire an expert or attorney to summarize AEO documents for him,
  15 thereby giving him full access to the AEO documents he was otherwise prohibited by
  16 court order from seeing. No reasonable interpretation of the Protective Order permits
  17 such an absurdity.
  18        Given Sugarman’s admissions and the language of the Protective Order,
  19 Sugarman’s extensive attempts to attack Levine’s credibility are a sideshow. As
  20 stated in its motion, Muddy Waters takes no position on Sugarman’s allegations or
  21 Levine’s allegations of wrongful termination and whistleblower retaliation against
  22 Sugarman. What matters for these purposes is the documentary record, which plainly
  23 shows Sugarman transmitting the Expert Report to Levine, and then Levine
  24 transmitting the Expert Report to a reporter, Dkts. 623-7, 630 (Levine Decl., Exs. A,
  25 D (sealed)), which is wholly consistent with Levine’s testimony that Sugarman gave
  26 him the report with instructions to disseminate it to the media, Dkt. 623-6 (Levine
  27 Decl.) ¶¶ 14-15. Levine also provides text messages and other documents showing
  28 Sugarman’s preoccupation with Muddy Waters and Carson Block, supporting his

                                                 15
              REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM        Document 645 Filed 12/01/23      Page 20 of 25 Page
                                      ID #:25540



   1 testimony that Sugarman’s overarching purpose in mishandling the report was to
   2 damage Muddy Waters’ and Carson Block’s reputations through the press. Dkt. 623-
   3 8, 9, 11, 13 (Levine Decl., Exs. B, C, E, G).23 Additionally, Levine provides an email
   4 showing that he scheduled a call between Sugarman and Evan Hughes, a reporter he
   5 gave the Expert Report to on Sugarman’s instructions, which contradicts Sugarman’s
   6 testimony that “Levine was acting independently” and without his authorization in
   7 corresponding with Hughes about the Expert Report. Dkt. 623-12 (Levine Decl., Ex.
   8 F); Sugarman Decl. ¶ 17.24 Sugarman provides no documentary support for his partial
   9 denials of Levine’s testimony, but instead attempts to turn this motion into a
  10 credibility contest. If the Court believes it needs to make a credibility determination
  11 to rule on this motion (Muddy Waters respectfully submits this is not necessary given
  12 the documentary record), then it should allow discovery and hold an evidentiary
  13 hearing at which both Sugarman and Levine (as well as Lindsay Valdeon and others)
  14 may be cross-examined. As noted above, Sugarman has already been caught in a lie
  15 in these proceedings by having his counsel deny that he sent Levine the Expert Report
  16 and claim that Levine probably stole it. Esper Reply Decl., Ex. C at 1-2 (“For
  17 purposes of clarity and ease, Mr. Sugarman never disseminated the [Expert Report] to
  18
  19         23
             Sugarman attempts strained interpretations of these documents to argue they
  20 are innocuous, but none of his spins are persuasive in light of the text within the
     documents themselves.
  21
             24
               Sugarman curiously claims that Levine stole attorney-client communications
  22
       from him, but all of the documents that Levine attaches to his declaration are
  23   communications that Levine himself sent, received, or during which he was present
       (the Reuters interview). Sugarman’s baseless claim in his Opposition that “the basis
  24
       for Muddy Waters’ position [is] based upon Levine’s theft of documentation from
  25   Sugarman (including attorney client communications)” should be disregarded as false
       and unsupported. Sugarman Opp. at 13; see also Latham Opp. at 11 (recklessly
  26
       making the same false claim). Notably, in the meet and confer process and before
  27   knowing what the evidence showed, Sugarman, who knew full well that he gave
       Levine the Expert Report, claimed through his counsel that Levine likely stole the
  28
       Expert Report. Esper Reply Decl., Ex. C at 1-2.
                                                16
                  REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM      Document 645 Filed 12/01/23      Page 21 of 25 Page
                                    ID #:25541



   1 the public, media, and/or third parties.”) (emphasis added). Confronted with evidence
   2 that he indeed transmitted the Expert Report to Levine, he now admits this to be the
   3 case but for the first time offers a purported explanation for his conduct. Sugarman
   4 Decl. ¶¶ 13-16; Sugarman Opp. at 21 (“Sugarman provided the report to Levine ….”).
   5 Sugarman’s request for a determination that he is credible and Levine is not is
   6 therefore not possible on this record.
   7        D.     Sugarman Should Be Held in Contempt and Sanctioned
   8        Sugarman should be sanctioned and held in contempt for willfully and blatantly
   9 violating Judge McCormick’s Order and several provisions of the Protective Order by
  10 disseminating the Expert Report, which plainly contains Muddy Waters’ AEO
  11 information, to the media through two of his employees. See Clarke v. First Transit,
  12 Inc., 2012 WL 12877865, at *14-16 (C.D. Cal. Nov. 2, 2012); Elkharwily v. Mayo
  13 Holding Co., 2017 WL 1373256, at *1-2 (D. Minn. Apr. 13, 2017); Gonzalez v.
  14 Charter Commc’ns, LLC, 2022 WL 570003, at *3 (C.D. Cal. Jan. 26, 2022).
  15 Sugarman’s arguments to contrary fail.
  16        Sugarman did not substantially comply with the Protective Order as he claims.
  17 Sugarman Opp. at 17-18. In response to his subpoenas, Judge McCormick issued an
  18 order holding that all of Muddy Waters’ documents were subject to AEO protection;
  19 the Expert Report plainly references Muddy Waters’ AEO production numerous times
  20 (see, e.g., supra at Argument Section III.A); and he admits he gave the Expert Report
  21 to Levine for a purpose unrelated to the underlying litigation (Sugarman Decl. ¶¶ 13-
  22 16). Thus, based on his own admissions, he did not comply, let alone “substantially
  23 comply,” with two of the Court’s orders. Further, Levine testified that Sugarman
  24 “specifically told [him] that he (Mr. Sugarman) was not supposed to have a copy of
  25 the Expert Report,” but instructed him and Lindsay Valdeon to disseminate it to
  26 reporters anyway to help “plant negative articles about [Carson] Block and Muddy
  27 Waters.” Levine Decl. ¶¶ 14-15, 20. Thus, not only did Sugarman fail to comply
  28 with the Court’s orders, he knowingly violated them.

                                               17
              REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM       Document 645 Filed 12/01/23       Page 22 of 25 Page
                                     ID #:25542



   1         Accordingly, this case is nothing like Dual-Deck, 10 F.3d 693, upon which
   2 Sugarman relies. Sugarman Opp. at 17. In that case, the Ninth Circuit reversed
   3 sanctions against lawyers who “learne[d] from and use[d] their experience obtained in
   4 discovery” in one case in bringing another case, and failed to “achieve total amnesia.”
   5 Id. at 697. Unlike in Dual-Deck, Sugarman revealed the contents of Muddy Waters’
   6 AEO production, as summarized and analyzed in the Expert Report, to Levine and
   7 Lindsay Valdeon and instructed them to disseminate the report to the media to harm
   8 the reputation of personal enemies of his. Levine Decl. ¶¶ 13-21, Exs. A-G. These
   9 facts bear no resemblance to those in Dual-Deck.
  10         Sugarman’s and Latham’s offers to comply with the clawback provisions of
  11 Section VI of the Protective Order are hollow, meaningless, and do not moot Muddy
  12 Waters’ motion as both parties claim. This section requires that if a party learns that
  13 it disclosed designated material to a person not authorized to receive it under the
  14 Protective Order, it must inform the person of the Protective Order, retrieve the
  15 material, and ask the person to sign the Protective Order. Dkt. 83 at 7. Sugarman
  16 claims he owns the Expert Report and only ever disclosed the Expert Report to
  17 Levine, so his “compliance” would mean asking Levine to return the report to him
  18 and to sign the Protective Order. Sugarman Opp. at 16-17. Latham claims it only
  19 ever gave the Expert Report to Sugarman, so its “compliance” would be to tell its own
  20 former client (who claims he owns the Expert Report) to return it and sign the
  21 Protective Order. Both parties’ arguments that these meaningless gestures would
  22 somehow make Muddy Waters whole are beyond comprehension. Muddy Waters
  23 seeks seven separate sanctions, which have been authorized by other courts in similar
  24 circumstances, and which are not duplicative of Section VI of the Protective Order as
  25 interpreted by Sugarman and Latham. See Mot. at 20-21. Sugarman’s argument that
  26 the motion “seek[s] the exact same relief that Latham and Sugarman offered” is
  27 therefore false. Sugarman Opp. at 19.
  28 / / /

                                                18
              REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM       Document 645 Filed 12/01/23       Page 23 of 25 Page
                                     ID #:25543



   1        E.     The Court Should Also, or in the Alternative, Permit Discovery
   2        Discovery is warranted in contempt proceedings where the movant makes a
   3 “prima facie showing” of contempt, i.e., where the movant makes a “proffer [of
   4 evidence that], if credited, would justify a finding of contempt.” Cardell Fin. Corp. v.
   5 Suchodolski Assocs., Inc., 2012 WL 12932049, at *60 (S.D.N.Y. July 17, 2012).
   6 Muddy Waters has satisfied this standard through the Block and Levine declarations
   7 and the documentary evidence attached to those declarations. Dkts. 623-2 to 623-13,
   8 629, 630. Sugarman and Latham’s concessions and the various factual issues that
   9 their Oppositions raise, see supra Introduction, only support an order granting
  10 discovery.
  11        Latham’s argument that the discovery sought is categorically privileged fails.
  12 As an initial matter, courts in the sanctions and contempt context have ordered
  13 attorneys to produce precisely the types of documents Muddy Waters is seeking,
  14 including emails to clients enclosing AEO materials. See, e.g., OmniGen Research,
  15 2018 WL 11512767, at *12 (ordering law firm to produce emails transmitting
  16 movants’ AEO information to clients and to identify in a sworn declaration all
  17 recipients of the movants’ AEO documents). Additionally, the “crime-fraud
  18 exception” to the attorney-client privilege is not limited to the commission of
  19 “criminal acts” as Latham disingenuously insists (Latham Opp. at 20). See, e.g.,
  20 United States v. Christensen, 828 F.3d 763, 805 (9th Cir. 2015) (“[C]onduct by an
  21 attorney that is merely unethical, as opposed to illegal, may be enough to vitiate the
  22 work product doctrine”). A willful violation of a court order would suffice. See
  23 OmniGen Research, 2018 WL 11512767, at *12.
  24        Sugarman’s opposition to discovery is baffling. Sugarman does not even
  25 attempt to argue that Muddy Waters has failed to satisfy the “prima facie” showing
  26 standard, but instead argues that any discovery would be a “fishing expedition” that
  27 will not reveal anything new. Sugarman Opp. 19-21. For example, Sugarman argues
  28 discovery should be denied because he “did not instruct anyone to disseminate the

                                                19
              REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM      Document 645 Filed 12/01/23       Page 24 of 25 Page
                                    ID #:25544



   1 report and only provided the report to Levine.” Id. at 21. This is not the standard for
   2 discovery in the contempt context, or any context. If Sugarman were correct, then no
   3 defendant who denies wrongdoing would ever have to participate in discovery. That is
   4 not the law.
   5        Notably, at the same time Sugarman claims in this proceeding that no discovery
   6 is necessary, Sugarman has attempted to serve discovery on Muddy Waters and its
   7 lawyers, concerning issues raised by this motion, in one of his many other cases:
   8 specifically, a case in which Muddy Waters and his lawyers are third parties and have
   9 no reciprocal right to serve discovery on Sugarman. Esper Reply Decl. ¶¶ 3-13 &
  10 Exs. A, B. In addition to being a gross and hypocritical abuse of process, Sugarman’s
  11 conduct demonstrates the he in fact has no principled objection to discovery—he just
  12 wants to make sure that only he can take it.
  13 III.   CONCLUSION
  14        For the foregoing reasons, Muddy Waters requests that the Court sanction
  15 Sugarman and Latham and hold both in contempt of Court for violating the Protective
  16 Order and Judge McCormick’s motion to quash orer. Also, or in the alternative,
  17 Muddy Waters requests leave to conduct discovery in aid of these proceedings.
  18
  19 Dated: December 1, 2023              HARDER STONEROCK LLP
  20
                                          By: /s/ Dilan A. Esper
  21                                            DILAN A. ESPER
  22                                         Attorneys for Nonparty
                                             Muddy Waters Capital LLC
  23
  24
  25
  26
  27
  28

                                                20
              REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
Case 8:17-cv-00118-DMG-DFM      Document 645 Filed 12/01/23      Page 25 of 25 Page
                                    ID #:25545



   1                         CERTIFICATE OF COMPLIANCE
   2        The undersigned, counsel of record for Muddy Waters Capital LLC, certifies
   3 that this brief contains 6,643 words, which complies with the word limit of L.R. 11-
   4 6.1.
   5
   6 Dated: December 1, 2023              HARDER STONEROCK LLP
   7
                                          By: /s/ Dilan A. Esper
   8                                             DILAN A. ESPER
   9                                          Attorneys for Nonparty
                                              Muddy Waters Capital LLC
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                               21
              REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SANCTIONS AND CONTEMPT
